                                                       1:19-cv-01227-CSB # 1   Page 1 of 11
                                                                                                                      E-FILED
                                                                                         Wednesday, 03 July, 2019 08:40:15 AM
                                                                                                Clerk, U.S. District Court, ILCD
                                               United States District Court
                                                   CENTRAL DISTRICT OF ILLINOIS


                                                                  )
                                                                  )
                                           Plaintiff              )
                                                                  )
                           vs.                                    )                Case No. - - - - - -
                                                                  )     (The case number will be assigned by the clerk)
                                                                  )
                                                                  )
(?. .P\   \.-~ . ~ ~.,-v-. ,-.1-S O   ,J                          )
~ O")     l--\   f..ob'n.x, ~o'-" "1~ c, ~                        )
      \.-~ .(,..-r>I' f'(':                                       )
                                                                  )
                                                                  )
                                                                  )
                                                                  )
                                           Defendant(s)           )

 (List the full name ofALL plaintiffs and defendants in the caption above. Ifyou need more room, attach a
 separate caption page in the above format).

                                                               COMPLAINT.

 Indicate below the federal legal basis for your complaint, if known. This form is designed primarily for pro se
 prisoners challenging the constitutionality of their conditions ofconfinement, claims which are often brought
 under 42 U SC.§ 1983 (against state, county, or municipal defendants) or in a "Bivens" action (againstfederal
 defendants). However, 42 US.C. § 1983 and "Bivens" do not cover all prisoners' claims. Many prisoners'
 legal claims arise from other federal laws. Your particular claim may be based on different or additional
 sources offederal law. You may adapt this form to your claim or draft your own complaint.

~     42 U.S.C. §1983 (state, county or municipal defendants)
 C
      Action under Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (197l)(federal defendants)
 C
      Other federal law:


 •    Unknown
                      ---------------------------------

                                                        I. FEDERAL JURISDICTION


          *Please refer to the i1zstructions when filling otlt this complaint. Prisoners are not required to
          use this form or to answer all the questions on this form in order to file a complaint. This is not
          the form to file a habeas corpus petition.
                                             1:19-cv-01227-CSB # 1                      Page 2 of 11



        Jurisdiction is based on 28 U.S.C. § 1331, a civil action arising under the United States Constitution or
other federal law. (You may assert a different jurisdictional basis, ifappropriate).

                                                             II. PARTIES

A. Plaintiff:

          Full Name:     u ~RN~\\
          Prison Identification Number: ~..i.-
                                            1..:...._Lf.J....-,$=-'-....:~:=..--7....J.-_ _ _ _ _ _ _ _ _ __

          Current address: ____,_
                              \         o=-A
                                           ~ 3=--
                                               o___L..f\
                                                    o::.......;:_"-><
                                                                  W--=-i.:
                                                                       k,,,__£~
                                                                             AJ~ ( ;)
                                                                                   ......,,,,,,_
                                                                                         Z_                  __,,,
                                                                                                               1?......:s.:._.
                                                                                                                            l ......._

                                                                      \L               (11):   'i C1 G
For additional plaintiffs, provide the information in the same format as above on a separate page. If there is
more than one plaintiff, each plaintiffmust sign the Complaint, and each plaintiffis responsible for paying his
or her own complete, separate filingfee.

· B. Defendants

   Defendant #I:

          Full Name:

          Current Job Title:
                                                                                   ~




          Current Work Address                 ::S: \\'', cJ O~\ S              ,,\f-£, C


   Defendant #2:                      \J.~V....r,1oV r>

          Full Name:              (    ".:i. u \\d)                     b lt,,l, f\
          Current Job Title:
                                      '---= 4\~ · •0}\t_\J3: ~
          Current Work Address ....;~'----_\__                    \ _:5____.c_,.;_~
                                            ~_\.._rJ.;_\:>..::;..,.....         .........-.1-C--...,.<-w
                                                                                                       .,._>.......,.__(,_.
                                                                                                                          • . .)__ _




                                                                       2
                                              1:19-cv-01227-CSB # 1                    Page 3 of 11

          Current Work Address                ..1.\\ .., .A/ a ·, <")

   Defendant #4:
                                                 ~<:>~~-~t
          Full Name:                      \_..\- .0 a½ £6                      od
          Current Job Title:

                                           \\_,_~-1--+'-/'.,_,o
           Current Work Address---=-:r:=--.....               ..........                              · ~----'(....✓
                                                                      ;_:0+---+\<....:,.....,,....,.~~t...,.              __,_(...____
                                                                                                                                   .. .,.




    Defendant #5:

          Full Name:                \_--\- ..
           Current Job Title:
                                                 ---r--      .,            ~          D                           r-
           Current Work Address ___ _\......\+>....D.........
                                 --4-                    [ Q.........,1=>5
                                                                       _ _ _f>,,._
                                                                               . ...      ,_v_~~,.,.,!Z.l---""'--'-'-=-.. ,_...,G--.-.
                                                                                                                          .           .J.

For additional defendants, provide the information in the same format as above on a separate page.


                                                   III. LITIGATION IDSTORY

          The "three strikes rule" bars a prisoner from bringing a civil action or appeal in forma pauperis in
federal court ifthat prisoner has "on 3 or more occasions, while incarcerated or detained in anyfacility, brought
an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger ofserious physical injury." 28 US. C. § 1915(g).

A. Have you brought any other lawsuits in state or federal court dealing with the same facts involved

in this case?                Yes      •
If yes, please describe _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




B. Have you brought any other lawsuits in federal court while incarcerated?

                      No    •

C. If your answer to B is yes, how many?                      le      Describe the lawsuit(s) below.

                                                                           3
                                            ( 1:19-cv-01227-CSB # 1 Page 4 of 11
                                              \.._1\ 1 Gf<-T:::toJJ
                         AJA ~ rf;                                ~
                                                   C.., o-$\c <... o v          r--\ "- rl J.           t:, o <,\:.."H
                          ,""6c . '-\'So C7                      rJu r4~ c I J                      ~ -\s+r.      ct
                                                                      '
               d- \:) "i', c._ ()0:, fV'" ~ )-b::..:.~'~\\J~1'~::.--.......:
                                                'tV'\         = -\...:::o:__..\-?(.:..::o~rl:~3.~ci:..L----
               ~ - o;s ~ o--s,', +:c,J ~-~--\-\6.5 ~~~-----~----
       U-.      A        /'\J ~"""\--\    o~       Co..~~         C..o:Jv-,4          C'(   rJ<.
 --:::;:'j ,   .....J-   \ 3.   C '-\ -S n \

                 d-- o.S• '- <-:\C:..,~                    N"\'(.~ )            D\.J~
                2, I:),     -s-po';:, ,--1,: o rJ          ; ~"'-~ o.\          ;:_   ~
                         ,v ~~ a!;                ~~ ~..,..ri o. "'2, J.<> c. 't!-lc-t
                                                                                                        ----;vvlV\      b~       r
                          \S \....., 7                                    r-+
                                                                           ,
                                                            -.'-{\Cl~ )           V-v'!!(\           oi.,~




                                                           ~
                                         .:>+       < . . ~ C..c)v,f.+            °'~~             J..ou4+        .IV'-'~~ ,~

                     -~~_i.-~~- -li.2..d:.k:o.LCGJL-G5+r~

                         ~~ ,':'         uo:"""""
                                           d"'.:\: 0-rv-li: \   (V\C\          J                        °'.rJ!.      Uf'}IA   -s" )
                 .:s     -~-s,,..;,l)[ J ) ~
         \u               NI:\~        "ttt-     C, l\ ~    J   Gov. r t        ~r,J.          J au~            /'J 4 ,fv\b~ r

----4- j_, \ (o                    'S(o9_S              rv oN      ~r J                   ~ 5-+ r ,-t:rl-
                  J--. ~   0\~' 1 C...   C\ c;\ """-            ('v'\o.&t~ ~C-1..A\                   l ~.r-J   L V\~O.\              ¥\t>d-•5J,,w~
               3          - -~~o~A: o r J~
                                                        ------
                                                           ~              ~\~<,
                                                         1:19-cv-01227-CSB # 1                              Page 5 of 11


    1. Name of Case, Court and Docket Number
                                      \3        c_       6 53 ~
    2. Basic claim made __C
                          ~ ,::f\
                              .1..l.,,~£~ \~..i.o,.A+.,J>l....::l~__,1..,.,,,,c.Ld.......vi""'S......,,£?.""',-jJ...-_   __.,s,"""'::!el.QC,,....,,,
                                                                                                                                                ,...._
                                                                                                                                                     - _ _ __


    3. Disposition (That is, how did the case end? Was the case dismissed? Was it appealed? Is it still

pending?)


For additional cases, provide the above information in the same format on a separate page.



                                      IV. EXHAUSTION OF ADMINISTRATIVE REMEDIES

          Prisoners must exhaust available administrative remedies beforefiling an action infederal court about
prison conditions. 42 US.C. § 1997e(a). You are not required to allege or prove exhaustion ofadministrative
remedies in the complaint. However, your case must be dismissed if the defendants show that you have not
exhaustedyour administrative remedies, or iflack ofexhaustion is clearfrom the complaint and its attachments.
You may attach copies ofmaterials relating to exhaustion, such as grievances, appeals, and official responses.
These materials are not required to file a complaint, but they m~ sist the court in understanding your claim.

A. Is there a grievance procedure available at your institution? Y~                                                             No      •
B. Have~ed a grievance concerning the facts relating to this complaint?

                Yes      ~         No CJ

If your answer is no, explain why not _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


C. Is the grievance process completed?                                y~                  No      •

                                                                     '~
                                                                                   ~.rt-+
                                                                       t-X~. ~ ~




                                                               V. STATEMENT OF CLAIM

                              ~_....;.:•D----"o___;_._,C....,<....:...
                             -("
Place(s) of the occurrence _ _                                                    ..___::S:_-.J,~\-.-\_,_cJ~ou
                                                                                                      . . ·l_~...z.__-l~~'l.l..\\/i.~..l,....:r             C. C~
                                                                                         4
                                    1:19-cv-01227-CSB # 1      Page 6 of 11




                             J

· .vr.-~-s-   N'4' wo~~ '¾\~~~<;~t\ ,, rJ   o: s   :f \"x. r   C,C,




                         I
,__,.cc~"'-\-   ~v~ ~.~\~. ' )   c£\': c£R
                                                            1:19-cv-01227-CSB # 1                         Page 7 of 11

: Date(s)oftheoccurrence                     ~- r~- 11:) \-:}.CJ - \?J                         J   ~ - \'do -rs:>;:) ~- \          - \~.J   '3.-1d..- fi?J~-~ -1'8
 State here briefly the FACTS that support your case. Describe what each defendant did to violate your federal
 rights. You do not need to give any legal arguments or cite cases or statutes. Number each claim in a separate
 paragraph. Unrelated claims should be raised in a separate civil action.

  THE COURT URGES YOU TO USE ONLY THE SPACE PROVIDED. Federal Rule ofCivil Procedure 8(a)
  requires only a "short and plain statement" ofyour claim showing that you are entitled to relief It is best to
  include only the basic, relevant facts, including dates. places, and names.


    DI\)            1- n - 'n                      +i'?q., )(           5? : a O        f'M '           M:;:t:,      \,-i<, ,. l o,S        Co. \\'<i J    ::-~--- ~
    VV-.':J     oo o•                   Wi'Jt? ~b~~S                            ~,o}           ',sJoccl£-C:              J'oe    'trS     :to <f....J_ ~~~
     ,.,                          r,                                        ,                                        .
  ,\ ; .a1J, >' \"x,~ M_::s "I -~~ ,.,.J :ti:,£ (% 0 .'Sp I itv"sforf hc;<,K ::f<? «D
                                                                                   0
  §;fr~             ~=> ",
                    ,t). ) -\-"V55 ~ti M~Nv-.:k -, r:?i:,Y:Cn-~ S:::: hY~-:5 b<>.,orl( \,l~i~
                                                            I



 ~<'-\«'-     <lo wd v,r,J irtr: ~\6t1C 'v-J (?\ ~½~, ~               ~ <;>vi~ h\(7o ~                                          ti
   ,_,.__;,-\¼ W o Sb o.w o "' -+ ap            ~ :+)\& cl <,, b I\/j Cnrti q,, "'~ c,Ju
                                                                                       J
  ~~',:::)°'\) 22-\~o ~,Ac,1c,½,':j ~ o.-D-C b~~ C.-rMir0' ~c.K~~

  ~
  "'
      ' vJ
  o-\so 't,,u,=
                ~
           \r-.gSi) ,:\ oW
                           f
                               *: =~ \\\~:::
                                    \          I   -
                                                    =- 1;~~=-=~
                                      ~~·:i .;~~,:; \~~
                                           ,. 11·.\\o
                                                               ~ .Nj
                                                             ~:~
                                                                C:.or:d:S            \e. or,t;;,.:.cl
                                                                                                                  ~    i~
                                                                                                                             i;'\
                                                                                                           If :\c, 'Mi!;; 1 «,, ¼
                                                                                                                                                               ;r-1
                                                                                                                                                    c: C,o;,,:, ,
                                                                                                                                                                 I




 h.,d,. ~,.o ,.._, -\1.,;,.. ½ a:Sy'd a,,~ , o.c-r'., :J:x J :±o ""'::l orJ \ ~; "_j
 ~~\. ' ,cJ S v--iosv,h\£~ V\21-\\o VV'lw::\·, o£ ~ ¥,c:,2o10) ,::h'1\o:s
 b'{" o¥-.?s, .",Nc.h,111¢~:,l\[j _ m~         1
                                                Q\,Ns2       <'>,, \a-\         -+.v~
                                                                           ~ yf-C.$ c9Nt\)                                           *.
 ~\ocJ=::, dfjS                                ·ci,~ s::3                           cl-tcZt rs           hU:.<ACli,~ ~~-, [' :bvrl':J
    (21, o,[   <,    C         °' l ... :n J           (h        \   a::\       oG         clQ,>tY),e>_5:t s le th iCJo, C,tll I. sxd'. M '\:,
 -\-c:i        \:#             b,)$p ;:t a \-,J:¥d                      ±oc  :¼ !d:tt J facet
                                                                                       y,ry,,,) ...\.,     da..tJS
  vv"'~ '.Sc)?,(;]($~.,\~ ,J-\'f-£.:3 o\So $:,,oLAd cPE l~b£cat :.o,d ;:fft;r-t,,-vc\::
  1~ , '-"-. .,...J !_J ;\ .,..,.-\1.'~ ' C, w tclf d :$''j ,v·.£ ; C. ~ ..-J-J- ;Al -~.. ""'j -d: Q,\'5 o
                                                                                                                             ~>         rJo.'l'v-..,:!J
                                                                                                         .:c,:~: ;~• ~\Ail
  \t":? ~ ':>        C..   --r-Vl2£\           ?'-.N~           , ,,c,l v5'.d\\            Jp->c\/- <,.v_~J'/2 ·                                          ;,,,J'\-r,{)t-,_j


 "'---~~                                <> « ~.        v-'d\r        Iff::- R "~"                                                       -+k<;:
 ::::L,         , f             c c5           ~~                ·c-5{)-&\orJ_                     o. _           __) _          c.o.p)      -'V\         ~
   o:f-f:t..:s:r:              -, s:\o:,+               kc-Joi..,,.,)           i    2b,\;&:       ~;      , "-"&S        :±\cixc--=t     c:>d: '.I\)~-No}~ lMr

                                                                                       5
                                                           1:19-cv-01227-CSB # 1                            Page 8 of 11

        ;:f,           ~lo~                           -\.Q,-v--.          -\'ws,,        :\a\\o,,.;.':::j            ·/•o\o:\~oa>S _                 _.d..5:"8~            o.,c1l     ttf±'
      -P.'!':"'M;, ,-1~~~.,-Tt                  v·.~ \ a.\ ',:t? cJS • , o1\o·, c b                 c\:s:,r:,\,£, s!          + r a'l"."       f3::m\ i crl:: P,rl J
     ~..,\ \b&,{ rx;\--!;,              ·• c,)   2: ~-\S,,,~,J (,i(S }...r,,.."!\:)            o of~        1o,>" fliS,i, o,) ~aci-•.$.or,r;fr:,d                         0,.\   0   ~
   vd,~\r:,, C-,Q"'J',\,oe.!5                              ci C..<c>o>\;o1-x:"':i'::5,nt:\                        oS            ,...5\\        oS-        s9>v.o..\ \""'o-\~:nr,l
   ~y§, ~coc &s.A,::r½,S                                  ·¥'S!N.1:1~S            ,~              ¼          t:£S.1.,,t\         J        C:.o\h...~o.el o..c1c
                  ~ . • <,o,,~e,;~.AJ
   NxS? o:\ ',<SM ~                                                                 r
                                                                                   c,r        \oo cco,S.5\"Y'tr
                                                                                                                              ·\
                                                                                                                            cv±J                    r
                                                                                                                                       <..-\1<,ro ::\t:o.rc
                                                                                                                                                            r ··
                                                                                                                                                                         ::ti \,~
   '-'!)~!71z«,.,c1c..-=t             <;?-r,1   l     <-rP~\ ,g.d±s                      a.eio·, ~               ~          ·«'i"t:,;f,<-A,\         ~6o,e,5,\
    ,,v\c.o            L~~ Al:i:           S\,,.~"'\A,~(',                      . ,,,Jc,6      ·, e,A,ol~.J            : :01 +a. k·, ~                   -~                 d-f
   "fv°'::2:9         ~~ ~. s               ON           ~,-- \ ~ - \~                \ ..,,,) ½,ck       'Mo..s!3=             Y'::5;         o,:\A s ·rov'"±             :\:o
   ~\\'\ ~g:;+£                                  -\,N~CE               Q..q,!       M•4~               mos",                -,ssv;s;;. Jc\lo,:u.....                    .S\:yf,

    ~Y'!co,4V.                    Y::-0 121\     Y'> C     *'     Cl        fg r            ...CC\,\\ h-C--5'.    ::±o            i..,A$;£        t:l: 0150 "'")cl::f
   G o.,sz,               :1\$ ,N               $~               1;?'6-\         ~              k/;2',J<.        o,J          )"O.:j      'fr:':fts::!S         c?).




   \_-\: -~ :--0\-..r-1 :'.::>C?lc)                    :k\ ~            \::n c::         °"'f}t.2,&±         ¥'\"\   :'.J       n\oa..V) a          r       o    c,1sd
   ~~:i; > ..,s\-. o ,-,,)                          tv\.,.::> . ~o.mba~                              o-\~ o          • o\so..f\x:td                  \of-,r r~p::,r:+
   v->V:S,ci              Sok              o.,dh:~          -w           Y:nc: ti-poc-i- -4'hJ. -, $a'~~ 'J ~\ix
   C.1-<"'- 4:>\r-.            ~Z)         ~ ~-- C, ~\           , b    ~ 'S,\ C7:? ..\hx.M :::0,..\ \ .; -\.n~S --Co\§£ s·nx
  v-->~A                  -\'-::-!n ma'!:J b                      S:\:o;;>          ~               ~~ •My                        f':\Ecl s              1 ,,JefS        o-,\-r-+~
  \;.-(,✓~                                                              \-'A...9 . . \l?
                                                          ~ a
                                                            \
                                                            :
                               v<\,ll's\N::~              ocd                                        Q\Nd         a•.,c:.         rcn~::\-:::::..5           wµ~                 Appr-o_)I

   0- ~o-a~h
   \j~w:S~;\;ci
                                           \r-:: ·,,.~ :1
                                   ,;=:(~ ~C= ~ ;= :: ~ O\~= i~~~
                                   "~<!<;                                                                              -S                 a~              ~:,
                                                                                                                                                                                 -~~~~~
~-"::::::> ~\~(,                 ~QC            ¼}~        Qv:!:L          M.::)         ~,Se,oc{d:;t:1,A:f,il,                "fV'3 ~; c a,:±) a Al       :::\:½:~
   ·, ½"'VS                    \:s:5.,cl        ~·f?iScie·,~sa .:f4-~                          °'      ~Nov.J.r-.t               -t-~"+         ~"'°'c>.\ ~~~.._o..\
  V ~ <~ •      1
                    .r-'5, \     w4              ~ r-l~~ Y"'~\    :k'_j      :,r.J v o\ YA d , ,;J l.., c:,.\ ,: cX~ 'S                             ·\ e:! c..'ii\.,.   c:, g
  \..-Y , J o V"\.rJ~ o f'l                 v) hu ·, ".S          \r-.~.,_~          cf.      :r.cJ+l;.fef~\ ;':\t£'X\r .:r_                                v-J"'-~        LQ:f'J~\lll~_J

  C...u.\\"\;;~          \ o       \ ~ - .\ o ½.rJ~ t:>.r'             %·-t}          <>~~ ~ta¾          od~                fu<:1°'-~~.r             to         ~..\9+>
  (., ~ ,rv-.~ \ ~,            d~"j              o.ds2     v,)C:J:1--,:::::J                ~-\-\;Yo..c'L~              C,.o.vy~             ~\::i!'.3     vi) ) tYf.t£, r

  \;:>-l 'f '"3? LX '$$; J                  ., . \\::5li: ~ \.vs ~-, ,.., -\ o                      C.. ~""' ~\   °''   ,-1      J,, A <.4-\:) .\ o -+4
   j<.\I vo.., d sX                   q.('.\,t.~ r-        \Q"'-,,,J~ orJ o-.."S,,.             ,,,.1.:tl I ~ v-Jgrd -t ;-} \r--.9,v---.t/\¥, ::-•                          9,,rJ ~


                                                                                          6
                                                                       1:19-cv-01227-CSB # 1                                           Page 9 of 11



         v-...., \~ S. '\
                                   ...
                                     , q~-o-\~
                                                              ,w                  \
                                                                          ,;J -t l;.~               °¾-o ·~ o.. rJ                    o~~,
                            ~             '
         't\l~N+.5 ',                   \pxs,           N           \.o      r~(~IA;                           ! -.\s·,\ ;:s,d J:-s <:.: ,t!\o,.:,r,tur"'l                             L½r~t s                      c,rJ~

        1X,"f>~ td:tcl!:,                 '$-::(..,-.1..\-     4- p ~ '3r~j c>,*~c,N - v-J\r-.'iac Vti bN :he:; ~                                                                          C>~\-,<.,.--o.\S              ~   j C\ /'J

       -\'t, ~u r \'d, r                  \~ \ C\\,S             ..__,     tl:lll ~ Jh~ r ;rJ V""\c>.h S ¾ t
                                                                                 \ ·,-\~.           ,l    ci    do,tvjsr k j
        ~                · r            1V           'r                 •                                .
        \ wo.~ p.,d u .J :tuCW\o.d t       ~\/x,.,J   , ::\:  Aho.\. ,s \½-\: (.'!,$.-\ :(.i). o , \., h\\.S ~
       '? b\~ ~':) j._ "~~¥·,..Nd \'\r-"i,r :.N \ or Y°""\Q.oCi-.5 ";;,g:\; k>"S-~-£J C>~ . \ ~ C.,o J\J].:~,\,_,.}:otl

                                                                                                                                                           ,
       -wa~            \'b ½a-~                ~ 'ho..r-~~~                                 ~,~~~                   1:>-r-l      ~            \.N1,~L,,1
                                                                                                                                                       '--~             (;"ov-.¥ \ t\~c,±~ . , v:> ...'S. C::.Ic -N+
     *$;> ~~:::Y3j""\',cd 0.,:1~ ~-ro,r.S-\-s:c-r&st Q\rl: CJ\ ,;)rc,i\',g~~()N y)~,k ', "1 ¥'.:Af*·~e,,\",oc .\ $ VI\\~~ ~
      9>:1li0y;,c,s-\ Ott'~ e;,~v:x r ';:JG V\o.n;,S'-'-•~ ov,\ :s,~~ 0\ tJg,f"'C',--,,o,\ ~c;-'....~1,:.rl \,\.t ,\ht \ Mei. 'y CIM \ o-":S
     W~Q.       <;~o..\\ ~j:~,): , N~<,. \ li,c.-i!r,S ·,..-J ~Y:55:. ~\\ .\ ~. No:'Vs' \~-.r.\e\ ,,.,.,.;;s. Q'\1 £ , ~ °'/>::, l ~k-\.C\,

     le?~ "::, Qool           .)cl~c!ii: ~:JA '\ ',.,d         Q~      iVlo v :---\/ )p. .,.i-t5 i'o.c/f                       Mvdf, b 'vl:f\.<;\-)-\.~ cJ.tv;,c                                              (\~ ( ; > ~      ~
     \:o u.:Q.-, \ ~ µio ,;JX .f; r~ c.,~o.·, N ,\                                             :\ii£r.:!          ~2       bs»t\,          M._j          ?)r i¥ v o,,c,1 ½S p, ot,~5-S                          to      NQ   C\'l'<\1'
     .;\.:$,cs; v:->:5~~ '5<"5. ~             !?> ,-)        0 <,.(,. !;\\$', i).,J           b-:-cs\ ~,             W!2 ~             '·r         <\~         °3. C\,M • 'v:? ½,'.\¼,           : ....i    S:( ~ ~{   B"\·. o ,+' -f .J
    .c~d<!.            ""'3     :)-r\S;.N(>,.N(,&              \:ocicJ           v,p      9,    els 1r,,::-'v:::n.s!.              \J',J l.':(.;   r- ......~ c:\12 ~c           I   w\:-5,rl ·, C, o'My\~, ....~.l                     J
       ~.J .?..    ~ ..>
                       t>     C-.\£f'l,1. ~       N±:S.          "<'--- 3 ~\t;,o,<-.                      w~r:r_, ~~N 1J:c::XJ,,t>..,J l b'"'°'"-cf.\ ~·•A"..r,';3c...rrM.L t-v.-r:~~
     ""' b        or-J's:o,\ ; ;<,,,i.l,.,.cS.~ )S \ q)' \):(,~r-,--.Jc.,\,crl                                             ~~& ye%S>: o r1                 ,o....,.J x·.~\-'9        "-\.\<\0)(,$;;           \o~      J- ~:~~
    ~~~                                                                                                   ~

   Y\~<s\,,X:...-             ·, ,-.) ~,;\~v,\·,      o,d )c          f \/\s,\ p..,.J<L                  \<1 e,1V' ~ I\,      ' "',..i',s.\-. !':"?i'. ,J..J ,wo.....ifc,,,..i       r tA~-"'S <:>:. ri~         ~v,\\V~ :j J
   ~'I;',;; "' ~"'\     •*Ma\·,~wg.\                AJ"'~       ~""-~ c ~ o..\\\', 1,,~:Pd                             w::S. r-5,.,.~         ',        C,g .:J.\-~ "''4'., \..)       S~,c o.::,. ~ -• ~]                   KNo vJ,.J

 o.~              A)                +Sr1 ~                        \t\ l',:;,v,         ...,.....\        :l'.'.', ~ -o•C,       vv~: <:.           L,           \- ~     ~             \   '-"         '\    <S\,,..ol; ~,~\$
'\N ~c-~       o..\\        \ 00\_s        v-~.:s;.l o..,.,..i l             <..c:>.N-t~.J\I~                   -t o ~               v-~~            ·h, ~.,\\~.,..,~                 -r---.~         u u M ~\ ;        C\,/ 1   J

                                                                                       RELIEF REQUESTED
                                                                    (State what relief you want from the court.)




                                                                                                                7
                             __ .
                                         c~0~
                        ._
                    I
                                                               1:19-cv-01227-CSB # 1                                  Page 10 of 11                             ·=-·t·:;
~                                                              ~ \0:,rJ                           s ,:~MVLI:                                                         '       I   I
                                                                                                                                                                                              ---...
,,... ..
        •
                             •
                                 ••
                                                                         ..r.   •     I
                                                                                              '- . ~ ...
                                                                                                  •
                                                                                                                 ,i _.

                                                                                                                      •
                                                                                                                                           'T
                                                                                                                                                     •


                                                                                                                                                     ...
                                                                                                                                                     I
                                                                                                                                                           !IL. •
                                                                                                                                                                         \.
                                                                                                                                                                    .,...-
                                                                                                                                                                                      .

                                                                                                                                                                                      .....
                                                                                                                                                                                     ..
                                                                                                                                                                                              ...
                                                                                                                                                                                                ,r
                                                                                                                                                                                                    .  .
                                                                                                                                                                                                       •



        ',      or.J    ~ - J)..<c, - ~ (.:I:.-Aj j :j' ,°l> ~c,\cv.J°Sod L...:>c-k. (A. t)\5G\~1NO.C\.,
r:?i;,,>o d    e>c,l     <2-cl ', ,.)""°'~           ~o'3' "'J -\:k \ rJY&S+~--+ip,.,) <~ OC' ::\ccVV'\. .....
,::,. ";yc.6.<~'-" dt '<""':) (_;(\\ o.\~~s: c:P: "'.5 ~UV\j'-" ""':J -r-h:a."½ :::!brl c?,,
 IV ,:z:t,:&,s c_ o..,.,.;r;, i's:: bY'A ·, r:,,) :r'Y'-"\.t , ~ a.\Sa ::\eo.\<-.r-x\ ~x 2 ¾. ~,-p,.__.o'-c:::
                                                                                                          '---i.___ _
, J ~ cJ L ~ . ~ o'½.cJS o d                 S~, ~ , , Su\::n+ o. ,J: n\\_j S~<J:£: d 4\-x~ ~
c->c?+~:S C . J ~ Af::oYY".' Sv,k cM~~, A~:\~ c:: :::r:<'s>w·•~ ~ ~t>ac±
to c~~~ cJ2 C"                                                       ~°' $ NC:>r 0-) \:::si{, "'j \o..\cn \;_J_
                                                                                          1

                                  v,;),\\\."'~ ,:::(('"Lv-tC\
                                  • ~                                                     ,.,.;       •• ,




'-"S          c-.       .Sci•:t <rtb , <....lo                 LA: • \o\t-,,..)S, o,J                       J    ~,~             1
                                                                                                                                     ~r:_9 g    ll   1
                                                                                                                                                         :t..--f. &. ~o½d~
,s.\\        r...l1ot±           a,ro \eN'd            ~trj,N____j            5&;4,,.b, ~Y\,cl!c! 4-\.:vrl ..
                                                                                -Ab:~ \           0,N")                   Cl..

CY:~            ~ c:J                   ~ 4 ' - ' \ A~J.. ~ ..\W.N ..\'-'ey --1:'i~ ~ °' GD::tu;,.J


                                                                                      • I'
 r--.. • .,,._ •
 .\l ~ ~ ,      'v'' NC).~                       \ •.
                                           0.,(, ;:\   Qb cJ    ON                  vJ•, ,O-'<'!\«S 'w ,>\\"Io <'n~ -.~)'V)a,
                                                                                                                     \      ,
                                                                                                                              N                              1 ,Jc..$
                                                                                                                                                                                 <'· •
                                                                                                                                                                                 ,.:)b,~~
 -;,v.-4r or:l               ~ 'b~<_:\~\·•N~:S ::\c:ocl~C ~ c ~R-~.Hc;( ( .. (,., 0~ or o.col ..~
1--, - l--S                  , c AJc,..S <.:;:,,,d • o LAw~ /\le -=l., C...(.. , o-:J ~ t>'~,?\'. ,vc::-.r...J




                                                                                                        I         -f'-




                                                                                                                                                                                 ...
                                                                                                         .      ..-                                                      -       ..
                                                                                .. ..
                                                       ~   ~         J         L-.--...               ~
                                                                 r
                                                                         ,!.                  -   --,                                                          . • • tr
                                                                                                                                                                                          •
                                                                          •
                                                                                                     _,,_ 4..
                                                                                              -r:,.. -~-
                                        1:19-cv-01227-CSB # 1                  Page 11 of 11


\.,    \OO) O Ob            1r-J    ~ v,,-4   ·,+:\f.£ ~ aV'v--..e7-.ys                    ~ \i O e                 ,,~     Nc)MiN~           l
d °"t,A. ~!)'t.5      1   ~ N J..     IAN=:,           Q,. N          °'\\       \ A ::..:ft C:
                                                                                    v-J                  1
                                                                                                             ',   N y('.>\,,h d·    Ov++t \
Go- c-+ 5{::5,~s , (3r'd ON":)                         o-bc.tr           :k£ 5       s:...o , .,c:-l-:            dU,CV'\     .:)V\'.:)-,-'
~no.Mi$                     ·,s :Sui<_            ·,.N      ::\K, r--- ·,rJc;f,v:J.4en\ C,.Ncl                dtr .n.\
( -o,~n(   ', \'n' j~.\l,o1~0..,-,4s                     A\;\<>   ~~    St':.C">:\)"t     of :\:\.-n.:r:- -=f-4\0::fcaA
.,..,..~ .l ~ ~'- ~, roili <:,.               t.1 ,.,,, ~ ,-      Co\ or o{ \ o..u. J




JURY DEMAND                        y~               No            •
      Signedthis _ _~_ O_ _ _ dayof _ _ _\;2
                                         """''---------'20                                                   /Cf .

                                                                                   ( Signature of Plaintiff)




 Name of Plaintiff:                                                   Inmate Identification Number:


      '!)~~Nt \\              ~\.A~, ~                                  i.-i1s~ --,
 Address: \t:>q~ b          L.~·w~ N ~ '2-~.
                                                                      Telephone Number:
                                                                                      pi}A
      ~u""'N~\<...           \L      ~~4.\ ~ ~




                                                                  8
